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                                                   March 12, 2021

   VIA E-MAIL ONLY
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   John R. Maley
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                      Re: Genesys v. Talkdesk et al. – Response to 03.08.21 Letter

   Counsel:

           Your letter of March 8 references a document bearing Talkdesk production number TD
   0249637. This document is an e-mail provided by Talkdesk’s CEO to investors that conveys
   attorney-client privileged communications to individuals with a common legal interest in the
   affairs of Talkdesk. In particular, the two individuals receiving the information from Mr. Paiva
   (Brian Rose and David Truetzel) were members of Viking Global, investors in Talkdesk who
   possessed a common legal interest in Talkdesk’s business. The document is thus privileged and
   was advertently produced during discovery. See, e.g., Groth v. Pence, 67 N.E.3d 1104, 1119
   (Ind. Ct. App. 2017) (“[T]he common interest privilege extends the attorney-client privilege to
   otherwise nonconfidential communications between parties represented by separate attorneys.”).
   Pursuant to the claw-back provisions of the parties’ protective order (Dkt. No. 52), please delete
   all copies of this document. Note that the non-privileged portions of this e-mail may be found in
   other production materials in this case.

           As it relates to your assertion that Mr. Manno and Mr. Paiva stated “falsehoods” or
   “untruths,” such assertions are without merit. Defendants stand by the cited prior declarations
   and testimony. Further, as it specifically relates to TD 0160250, Genesys previously had the
   opportunity to question both Mr. Manno and Mr. Paiva regarding any questions relating to the
   content of that document or its bearing on other testimony provided by the witnesses.

           Nonetheless, the e-mail from Mr. Manno does not show that Mr. Manno or anyone at
   Talkdesk had possession or knowledge of Mr. Manno’s 2004 Interactive Intelligence
   employment agreement—including the specific provisions alleged in this case to have been
   violated—when Mr. Manno was recruited by Talkdesk in 2018. Instead, all testimony and facts
   are consistent that Mr. Manno did not have possession of his 2004 Interactive Intelligence
   agreement and did not provide any such agreement to anyone at Talkdesk during his 2018
   recruitment. As Mr. Maley is aware, Mr. Manno expressly requested a copy of his 2004
   Interactive Agreement from Genesys after receiving the cease-and-desist letter from Mr. Maley


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   in November 2018—confirming he did not possess a copy at that time. Talkdesk witnesses
   likewise confirmed that they did not receive a copy of any employment agreement from Mr.
   Manno during his recruitment. And, further, Genesys’s own Human Resources Business Partner
   for North American Sales, Ms. Jessica Coburn, testified that (i) she was unaware of anyone at
   Genesys ever having provided information to Mr. Manno concerning the 2004 Interactive
   Intelligence agreement while Mr. Manno was employed with Genesys; (ii) Genesys did not
   locate Mr. Manno’s 2004 agreement until after Mr. Manno’s departure from Genesys in late
   2018; and (iii) Genesys located the paper copy of Mr. Manno’s 2004 agreement in a locked
   storage room that was inaccessible to Mr. Manno during his time at Genesys. Thus, any
   implication that Mr. Manno or Talkdesk were aware of specific contractual provisions of an
   employment agreement that Mr. Manno plainly did not have in his possession is without merit.

           Finally, regarding your stated objection of Mr. Alamgir being added to the supplemental
   disclosures, the disclosure took place during the fact-discovery period and was done once Mr.
   Alamgir was identified as someone with possible relevant knowledge. Further, although
   Talkdesk has noted throughout this case that publicly available databases exist that contain
   information relating to customers of companies in the contact center industry, including
   Genesys’s customers, Genesys has failed to provide identification of its own witnesses who have
   knowledge of these relevant databases. Thus, Talkdesk’s production of such a witness within the
   fact-discovery period is both appropriate and timely.

                                                      Regards,

                                                      /s/ David S. Moreland

                                                      David S. Moreland
                                                      Principal
